Case 4:23-cv-03305 Document 16 Filed on 10/16/24 in TXSD Page 1 of 3
                                                             United States3District Court
                                                               Southern District of 10/16/24
                                                                                    Texas

                                                                  ENTERED
                                                                October 16, 2024
                                                                October 16 2024
                                                               Nathan Ochsner, Clerk
Case 4:23-cv-03305 Document 16 Filed on 10/16/24 in TXSD Page 2 of 3




                                                            24-3918 KMM/DTS



                                                       24-3920 KMM/DTS

                                    24-3921 KMM/DTS
                                                            24-3922 KMM/DTS



                                                 24-3923 KMM/DTS
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Case 4:23-cv-03305 Document 16 Filed on 10/16/24 in TXSD Page 3 of 3



                                                           24-3931 KMM/DTS
                                                            24-3932 KMM/



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